NOTICE OF CHANGE OF ADDRESS
Please enter the change of address set forth below in the records of:

Case Name _ Paul J. & Jeanette M. Demo

Case No. 12-22983

Check Appropriate Role Of Party The Address Change Will Affect:
Y_ Debtor __ Creditor

Paul John Demo Jr. and Jeanette Marie Demo
Name Of Party - (type or print)

Old Address Information:

18175 W. 156th Street
Old Street Address, Rural Route or Post Office Box - (type or print)

Olathe, Kansas 66062
Old City, State and Zip Code - (type or print)

New Address Information:

20520 Kittridge Street
New Street Address, Rural Route or Post Office Box - (type or print)

Winnetka, California 91306
New City, State and Zip Code - (type or print)

Dated: 02/17/2014 /s/Paul J. Demo

Signature of Person Authorizing Address Change

/Jeanette Demo
Signature of Joint Debtor, if applicable

INSTRUCTIONS

This form must be electronically filed by authorized ECF Filers. All other parties must complete the form and cause it to be
mailed or delivered to the appropriate Bankruptcy Clerk’s Office:

Bankruptcy Clerk’s Office Bankruptcy Clerk’s Office Bankruptcy Clerk's Office
401 N. Market Rm 167 500 State Ave Rm 161 444 SE Quincy Rm 240
Wichita KS 67202 Kansas City KS 66101 Topeka KS 66683

Revised 11/04/05

Case 12-22983 Doc#64 Filed 02/17/14 Pageiofi1
